              Case 1:19-cv-00128-SPW Document 58 Filed 12/03/19 Page 1 of 2



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 9
11                          IN THE UNITED STATES DISTRICT COURT
10
12                              FOR THE DISTRICT OF MONTANA
11
13    NEIGHBORS AGAINST BISON                          Case No. 1:19-cv-128-SPW
12    SLAUGHTER, et al.,
14                                                     Judge Susan A. Watters
13            Plaintiffs,
15
                                                       PLAINTIFFS’ SECOND NOTICE OF
14
16       v.                                            LODGING OF TWO VIDEOS

17
15    THE NATIONAL PARK SERVICE, et al.,

18
16            Defendants.

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17
20      Plaintiffs Neighbors Against Bison Slaughter and Bonnie Lynn (Neighbors) hereby lodge
18
21   two videos for the Court’s review as it considers Neighbors’ Motion for a Temporary Restraining
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22
     Order and Preliminary Injunction, ECF No. 4. Neighbors has included the two videos on a single
20
23
     DVD as digital .mp4 files.
21
24
        Neighbors had previously lodged these two videos with the United States District Court for
25
22
26   the District of Columbia. Notice of Lodging of Two Videos (Oct. 24, 2019), ECF No. 10.
23
27   Unfortunately, Neighbors learned today that, although that court transferred the case to the
              Case 1:19-cv-00128-SPW Document 58 Filed 12/03/19 Page 2 of 2



 1   United States District for the District of Montana on November 14, 2019, as of yesterday, this
12   Court had not received the DVDs.

23      First, Neighbors is lodging the video Yellowstone Buffalo Hunt A Native Perspective, Buffalo

34   Field Campaign (May 31, 2018), youtube.com/watch?v=9GfoDhk6WGY, as evidence for the

45   court record. Second, Neighbors is lodging the demonstrative video, Beth Cataldo, The Secret of

56   Beattie Gulch (Sept. 23, 2019), youtube.com/watch?v=AUSEPP7WOAA.

67      Neighbors is sending the Court two copies of the DVD. It intends one copy for the court

78   record and one courtesy copy for the chambers of Judge Susan P. Watters.

89      On October 24, 2019, Neighbors sent one copy of the DVD to Trial Attorney Tyler

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 9   Alexander at U.S. Department of Justice, Environment and Natural Resources Division, Natural

11   Resources Section, U.S. Department of Justice, P.O. Box 7611, Washington, DC 20044.
10
12          Respectfully submitted, December 3, 2019,
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13
12                                            __/s/ Jared S. Pettinato______________
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     Neighbors Against Bison Slaughter v. Nat’l Park Serv., No. 1:19-cv-128-SPW
     PLS.’ SECOND NOTICE OF LODGING OF TWO VIDEOS                                                     2
